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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

PANDORA JEWELRY, LLC
                                                    Case No. 1:21-cv-00172

                Plaintiff,

        v.

JOHN DOES 1-10

                Defendants.



      PLAINTIFF’S SECOND MOTION FOR LEAVE TO SERVE THIRD-PARTY
           SUBPOENAS PRIOR TO A RULE 26(f) CONFERENCE AND
                  INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff PANDORA Jewelry, LLC. (“PANDORA” or

“Plaintiff”) moves for entry of an order granting it leave to serve additional third-party subpoenas

on non-parties prior to a Rule 26(f) conference (the “Motion”) and submits the following

memorandum in support.

                                                Respectfully submitted,

                                                /s/ Mary C. Biscoe-Hall
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                                                Attorneys for Plaintiff PANDORA Jewelry, LLC
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I.      INTRODUCTION

        PANDORA seeks leave to serve additional limited, immediate subpoenas on non-parties

following the receipt of additional information learned through a prior subpoena this Court

authorized Pandora to issue to Woot LLC (“Woot”). As PANDORA set forth in its initial Motion

for Leave to Serve Third Party Subpoena (“Motion”), P ANDORA is suing the John Doe

Defendant(s) for breaching contracts that Defendants had with PANDORA. (ECF No. 2.) However,

PANDORA does not know and cannot determine the Defendants’ true identities and requires

information from third-parties to make that determination. Specifically, Woot offered for sale a

significant quantity of PANDORA merchandise that was likely purchased from a PANDORA Dealer

(or multiple PANDORA Dealers) in violation of that Dealer’s agreement with P ANDORA.

Accordingly, this Court granted PANDORA’s Motion and permitted PANDORA to serve a third-party

subpoena upon non-party, Woot. (ECF No. 4.)

        PANDORA issued the subpoena to Woot on January 21, 2021 (see ECF No. 5), and just

recently received a substantive response. However, Woot’s production revealed that its only

source of a considerable quantity of PANDORA products is not a direct PANDORA Dealer.

(Motley Decl. at ¶ 7) 1 PANDORA therefore believes that one or more PANDORA Dealers are

supplying PANDORA products to the source identified by Woot. Accordingly, Woot’s Source

necessarily maintains certain identifying information related to its suppliers and issuing a subpoena

to Woot’s Source will allow PANDORA to identify each Defendant’s true name and address.

        PANDORA seeks leave of Court to serve a Rule 45 subpoena on Woot’s Source, which

will seek the contact information and user information of the Defendant(s) supplying Woot’s



1
 Woot has stated that its source of PANDORA products is confidential and proprietary. Accordingly, PANDORA
refers to the entity as “Woot’s Source” or the “Source.” To the extent the Court would like to review the
subpoena response, PANDORA can provide a copy to the Court for in camera review.


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Source—and ultimately, Woot—with PANDORA products in breach of the Defendants’

Contracts.2 PANDORA also seeks leave of Court to serve a Rule 45 subpoena upon any additional

entities identified by Woot or Woot’s Source, if necessary, which will be in substantially the

same format as the proposed subpoena attached as Ex. 1. The subpoenas are narrowly tailored

to address only PANDORA products, as opposed to any other brands the entities may source and

sell and is limited in time to December 2019 to present. PANDORA will only use this information

to prosecute the claims made in its Complaint. Without this information, PANDORA cannot serve

the Defendants nor pursue this lawsuit to protect its brand and enforce its contractual agreements.

II.      ARGUMENT

         PANDORA reasserts and reincorporates as if fully rewritten herein the standard the Fourth

Circuit has set forth to determine when pre-Rule 26(F) subpoenas are appropriate, as articulated

in its initial Motion (see ECF No. 2).

         In this case, PANDORA has demonstrated the requisite good cause by properly pleading a

cause of action for breach of contract. (ECF No. 1 at ¶¶ 17-25; 34-39) (establishing that P ANDORA

has agreements with Defendants, in which they agree not to sell P ANDORA products to

Unauthorized Resellers, yet Defendants have sold and continue to sell P ANDORA products to

Unauthorized Resellers, and that those sales have caused damage to P ANDORA).) Without

learning the Defendants’ true identities, PANDORA will not be able to serve the Defendants with

process and proceed with this case. PANDORA’s important contractual rights are at issue in this

suit and, therefore, the equities should weigh heavily in favor of preserving P ANDORA’s rights.



2
  The proposed subpoena is attached as Ex. 1 though the name of the party to be subpoenaed has been omitted. The
information sought through discovery includes “actual first and last names of the operators or managers of the
Supplier, along with any corresponding Amazon seller names or Merchant IDs, if any; corporate entity names and
contact persons within the entities if associated with corporations; email addresses; physical addresses; telephone,
mobile, or fax numbers and any other identifying information associated with the Supplier” as well as any prior
information related to the same. See Ex. 1.


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        Moreover, there is no other way to obtain the identities of Defendants selling to Woot’s

Source—and ultimately reselling to Woot—other than by obtaining the information from Woot’s

Source, because PANDORA has already exhausted all other methods. Specifically, PANDORA has

already performed test purchases of products, engaged in various subscription and open source

services to attempt to identify Defendants, and issued subpoenas to Amazon and Woot to attempt to

identify Defendants. (Doc. No. 1 at ¶ 28; Motley Decl. at ¶¶ 3-4, 8.)3 PANDORA is left without any

other options to identify Defendants. (Motley Decl. at ¶ 6.)

        Finally, and as explained in its initial Motion (ECF No. 2), Defendants do not have a

legitimate interest in remaining anonymous and PANDORA has a right to enforce its contracts.

Defendants are parties to contracts with PANDORA, which explicitly prohibit them from selling

PANDORA products to Unauthorized Resellers. Defendants have no legitimate expectation of

privacy to information they voluntarily disclosed to a contracting party—much less to information

about their distribution of the PANDORA products in question without permission and in breach of

their contracts. Since identifying the Defendants by name is necessary for P ANDORA to advance

the asserted claims, and Defendants do not have a countervailing right to remain anonymous,

PANDORA has established good cause.

III.    CONCLUSION

        For the foregoing reasons, this Court should grant leave to PANDORA to issue Rule 45

subpoenas to Woot’s identified source and any other relevant entities subsequently identified to

uncover Defendants’ true identities.




3
 The Declaration of Martha Brewer Motley (“Motley Decl.”) is attached as Ex. 2. Ms. Motley is one of Pandora’s
outside counsel responsible for the team investigating the true identity of the Pandora Dealers.


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                                          Respectfully submitted,


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